         Case 1:17-cv-04853-JSR Document 119 Filed 11/25/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                          :
                                                          :
 SARAH PALIN
                                                          :   No. 17 Civ. 4853 (JSR)
                               Plaintiff,                 :   ECF Case
                                                          :
                                                          :
                        -against-                         :
                                                          :
                                                          :
 THE NEW YORK TIMES COMPANY and JAMES                     :
 BENNET,                                                  :
                               Defendants.                :

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                                    NOTICE OF MOTION

       PLEASE TAKE NOTICE that, pursuant to the Court’s direction on November 23, 2020,

Defendants The New York Times Company and James Bennet will file a motion pursuant to

Fed. R. Civ. Proc. 54(b), requesting that the Court modify its earlier Opinion and Order, Dkt.

117, and rule that, pursuant to the recently amended Anti-SLAPP statute, New York state law

requires that Plaintiff establish actual malice by clear and convincing evidence. Defendants’

moving papers (up to 5 pages) are due on November 30, 2020, Plaintiff’s answering papers (up

to 5 pages) are due on December 7, 2020, and Defendants’ reply papers (up to 2 pages) are due

on December 9, 2020. The Court will inform the parties if it decides to hear oral argument on

the motion.
      Case 1:17-cv-04853-JSR Document 119 Filed 11/25/20 Page 2 of 2




Dated: New York, New York          Respectfully submitted,
       November 25, 2020
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